Case 2:05-cr-20260-.]PI\/| Document 8 Filed 07/26/05 Page 1 of 2 Page|D 5

UNITED sTATEs DISTRICT CoURT F““U" ~ D.C.
WESTERN nlsTRICT oF TENNESSEE 05
Western Division JUL 25 PH hi 22

UNITED STATES OF AMERICA

   
    
     

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Cliv;;f§ri " tecum
-vs- Case No. iidScr'ZUZFEP(iii§dl

CHAD JOHNSON

 

ORDER OF DETENT|ON PEND|NG TRIAL
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(£), a detention hearing was not
held. The following facts and circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DlRECT|ONS REGARDING DETENT|ON

CHAD JOI-lNSON is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. CHAD JOI~INSON shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceedingl

Dare; July 26, 2005 /<Oc{ MU./ /(- ?MMJ’

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

This document entered on the docket s}jpet in compliance
with eula 55 and/or 32(19) Fech on ' ’ ‘

 

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This notice confirms a copy of the document docketed as number 8 in
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ENNESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

